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                                                                                  2022 Jul-14 PM 03:20
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

D’WANNA WILLIAMS,
an individual,

       Plaintiff,
                                              CASE NO: 2:22-cv-00163-ACA
vs.

CRMC, LLC,

     Defendant.
__________________________________/


         JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


       The Plaintiff, D’Wanna Williams, and Defendant, CRMC, LLC, by and
through the undersigned counsel, jointly agree and stipulate as follows:
       1) Plaintiff’s Complaint shall be dismissed with prejudice;
       2) Except as set forth in the Parties’ Stipulation for Settlement, each party
shall bear its own attorneys’ fees and costs; and
       3) The Parties respectfully request an Order from the Court in accordance with
this stipulation.


Dated this the 14th day of July, 2022.
                                              Respectfully submitted,

                                              /s/
                                              Edward I. Zwilling, Esq.
                                              Attorney for Plaintiff
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                                 /s/
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